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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION at LEXINGTON

                                             )
UNITED STATES OF AMERICA,                    )
                                             )
     Plaintiff,                              )             Criminal Action No.
                                             )              5:10-cr-78-JMH-EBA
v.                                           )
                                             )             MEMORANDUM OPINION
MAL ERIC WALTON,                             )                  AND ORDER
                                             )
     Defendant.                              )
                                             )

                                            ***

      This       matter    is   before       the       Court     on     the     Recommended

Disposition entered by Magistrate Judge Edward B. Atkins. [D.E.

717]. Said action was referred to the magistrate for the purpose

of reviewing the merit of Defendant Walton’s Petition for Writ

of   Habeas      Corpus    pursuant    to    28    U.S.C.       §     2255.    [D.E.    518].

Following        an   initial   review      of    the    petition,       the    Magistrate

ordered Defendant to show cause why the matter should not be

dismissed [D.E. 521], to which Defendant responded. [D.E. 533].

After reviewing the response, the Magistrate discharged the show

cause order and ordered the United States to respond. [D.E.

536].      The    United    States    filed        a    response        [D.E.    556]     and

Defendant filed a reply. [D.E. 572].

      In     his      Recommended     Disposition,             the     Magistrate       Judge

concludes: (1) that there is not a factual or legal basis to

find that counsel was ineffective by failing to object to the
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sentencing enhancement for a leadership role; (2) that counsel

was not ineffective by failing to challenge his PSR because the

record shows the PSR was challenged; (3) that counsel was not

ineffective by failing to apprise Defendant of his PSR because

the record shows Defendant was apprised of his PSR and, in any

event, Defendant did not show how he was prejudiced by not being

apprised of his PSR; (4) that counsel was not ineffective by

failing to inform him of the possible penalties he would face

upon entering a guilty plea because the record reveals that

Defendant was made aware of the penalties in Court proceedings

and Defendant does not allege that if he had known the penalties

he would not have entered a plea of guilty; (5) that counsel was

not ineffective by failing to provide him a copy of his case

file   for    preparation    of    the   current         motion   because     counsel

provided documentation that the case file had been provided to

Defendant on multiple occasions; (6) that there is no evidence

that Defendant did not have access to his entire case file or

that   the    Government     committed       a    Brady    violation;        (7)    that

counsel      was    not    ineffective       for        failing   to    argue       the

applicability of the Fair Sentencing Act at sentencing because,

at   the   time    of   sentencing,    the       Fair   Sentencing     Act    was   not

considered retroactively applicable; (8) that the Court did not

commit error by enhancing his offense by four levels pursuant to

U.S.S.G. § 3B1.1(a) because the enhancement was based upon facts

                                         2
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Defendant stipulated to in his plea agreement; (9) that the

Court did not err in attributing 50 grams of crack cocaine to

Defendant       because       Defendant         stipulated      in    his     plea       agreement

that he would be responsible for between 196 and 240 grams of

crack     cocaine;        and       (10)     that      no     evidentiary       hearing          was

necessary to determine Defendant’s claims.

        The Magistrate Judge’s Report and Recommendation [D.E. 717]

was     filed      on     April        22,      2014,        advising    Petitioner            that

particularized objections to same were due within fourteen days

or further appeal would be waived. That time has now expired,

and Petitioner has filed no objections.

        Generally,       “a    judge       of   the     court    shall      make     a    de   novo

determination       of        those    portions         of    the    report    or        specified

proposed     findings          or     recommendations           to   which     objection         is

made.” 28 U.S.C. ' 636(b)(1).                    However, when the defendant fails

to file any objections to the Recommended Disposition, as in the

case sub judice, “[i]t does not appear that Congress intended to

require district court review of a magistrate=s factual or legal

conclusions, under a de novo or any other standard.”                                     Thomas v.

Arn, 474 U.S. 140, 150 (1985).                        Consequently, this Court adopts

the reasoning set forth in the Recommended Disposition as its

own.

        Further,    no     certificate           of    appealability        shall        issue    in

this matter.            “A certificate of appealability may issue . . .

                                                 3
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only if the applicant has made a substantial showing of the

denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). In

order for a certificate to issue, Defendant must be able to show

that   reasonable        jurists   could       find    in   his   favor,    and   the

“question is the debatability of the underlying constitutional

claim,       not   the   resolution     of      that    debate.”     Miller-El      v.

Cockrell, 537 U.S. 322, 342 (2003).                    In this case, reasonable

jurists would not debate the denial of Defendant’s § 2255 motion

or conclude that the issues presented are adequate to deserve

encouragement to proceed further. See id.

       Accordingly, IT IS ORDERED:

       (1)    that the Recommended Disposition of Magistrate Judge

Edward B. Atkins [D.E. 717] be, and the same hereby is, ACCEPTED

and ADOPTED;

       (2)    that the Motion to Vacate, Set Aside, or Correct a

Sentence pursuant to 28 U.S.C. § 2255 [D.E. 518] be, and the

same hereby is, DISMISSED WITH PREJUDICE; and

       (3)    that no certificate of appealability will issue.

       This the 15th day of May, 2014.




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